 1   TIFFANY DEHEN J .D.            NUNCPROTUNC
     1804 GARNET AVENUE #239             2/13/2018
 2   SAN DIEGO, CA 92109                                        2/13/2018
     858-262-0052
 3   tiffany.dehen@gmail.com
                                                                 s/ Josepht
 4
     Pro Se Plaintiff
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                         UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
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11   TIF.FANY DEHEN, an individual          Case No.: 17-cv-00198-LAB-WVG
     on behalf of herself,
12                                          PLAINTIFF'S NOTICE OF
                  Plaintiff,                MOTION AND MOTION TO FILE
13                                          PLAINTIFF'S SECOND AMENDED
           v.                               COMPLAINT
14
     JOHN DOES 1-100, TWITTER,
15   INC,_ UNIVERSITY OF SAN
     DIEl:t-0, AND PERKINS COIE,
16   LLP.,
17                Defendants.
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           PLEASE TAKE NOTICE that on March 12, 2018 at 11:30 a.m., or as
21
     soon thereafter as the matter may be heard, in the courtroom of the Honorable
22
     Larry Alan Burns, United States District Judge, located at 221 West
23
     Broadway, San Diego, California, 92101, Courtroom 14A, Pro Se Plaintiff,
24
     Tiffany L. Dehen, will move this Court to file Plaintiff's Second Amended
25
     Complaint, pursuant to Federal Rule of Civil Procedure 15(a)(2).
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28                                         1
     MOTION TO FILE
     SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
 1   Dated: February 12, 2018                /'



 2                                       ~kctfully submitted,
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                                    _;--r/        Tiffany L. Dehen
 5                                    1804 Garnet Avenue, #239
 6                                      Pacific Beach, CA 92109
 7                                            Tel. 858-262-0052
 8                                   Tiffany.Dehen@Gmail.com
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10                                                 Pro Se Plaintiff.
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     MOTION TO FILE
     SECOND AMENDED COMPLAINT       No.: 17-cv-00198-LAB-WVG
 1                         CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that a true and correct copy of the
 3   foregoing document has been served on February 12, 2018 by express
 4   delivery with signature confirmation, postage pre-paid, to all current and/or
 5   opposing counsel of record, if any to date, who are deemed to have
 6   consented to electronic service via the Court's CM/ECF system per Local
 7   Rule 5 .4(d).
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 9          Dated February 12, 2018
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     MOTION TO FILE
     SECOND AMENDED COMPLAINT                      No.: 17-cv-00198-LAB-WVG
 1   TIFFANY DE HEN J.D.
     1804 GARNET AVENUE        #239
2    SAN DIEGO, CA 92109
     858-262-0052
 3   tiffany. dehen@gmail.com
4
     Pro Se Plaintiff
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 8
                         UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   TIFFANY DEHEN, an individual           Case No.: 17-cv-00198-LAB-WVG
     on behalf of herself,
12                                          MEMORANDUM OF POINTS AND
                  Plaintiff,                AUTHORITIES IN SUPPORT OF
13                                          PLAINTIFF'S MOTION TO FILE
           v.                               SECOND AMENDED COMPLAINT
14
     JOHN DOES 1-100, TWITTER,
15   INC~ UNIVERSITY OF SAN
     DIEuO, AND PERKINS COIE
16   LLP.,
17                Defendants.
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            COMES NOW, the Plaintiff, TIFFANY DEREN, and moves this
21
     Court to file Plaintiff's Second Amended Complaint, pursuant to Federal
22
     Rule of Civil Procedure 15(a)(2) on the following grounds:
23
           First, the Court should freely give leave to Plaintiff to file her Second
24
     Amended Complaint because justice so requires. Fed. R. Civ. P. 15(a)(2)
25
     provides in relevant part the following, "[i]n all other cases, a party may
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27                              1
28   MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFF'S MOTION TO FILE
     SECOND AMENDED COMPLAINT       No.: 17-cv-00198-LAB-WVG
 1   amend its pleading only with the opposing party's written consent or the
 2   court's leave. This court should freely give leave when justice so requires."
 3   See Fed. R. Civ. P. l5(a)(2).
 4         Second, Plaintiff is proceeding Pro Se at this time due to the sensitive
 5   nature of her claims, which involve terroristic behavior which threatened,
 6   and continues to threaten, Plaintiff's personal safety, as well as incited, and
 7   continues to incite, fear for her personal safety, including fear of grave
 8   danger to her body, family members, and close friends, as well as fear of
 9   additional economic injury and injury from emotional distress. Although
10   Plaintiff obtained her Juris Doctor from the University of San Diego School
11   of Law, Plaintiff has never appeared before a Federal Judge before. Plaintiff
12   attempted, and is still attempting, in good faith to learn and adhere to all of
13   the rules of Federal Court, in particular the Southern District of California.
14         Third, Plaintiff is entitled to amend her complaint because there has
15   not been undue delay. Plaintiff hastily filed her Initial Complaint due to
16   behavior including, but not limited to, terroristic threats and stalking, which
17   continued to escalate and to injure Plaintiff and ultimately constitute the
18   grounds for which this cause of action arose.
19         Fourth, Plaintiff then filed her First Amended Complaint with this
20   Court, reasonably giving Defendants an adequate amount of time to resolve
21   this matter outside of Court or offer alternative explanations before
22   proceeding with federal litigation.
23         Plaintiff alleges she gave Defendant John Doe an adequate and
24   reasonable amount of time to come forward with his identity and motivations
25   for his unlawful behavior. Since he has failed to do so, Plaintiff proceeds
26   with the direct and indirect evidence she has which she will prove to this
27                                          2
28   MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFF'S MOTION TO FILE
     SECOND AMENDED COMPLAINT       No.: l 7-cv-00198-LAB-WVG
 1   Court more likely than not the probable identity/identities of John Doe(s)
 2   and motivations for his unlawful behavior.
 3         Plaintiff alleges she gave Defendants Twitter, fuc., and University of
 4   San Diego, an adequate and reasonable amount of time to come forward with
 5   alternate evidence to refute or disprove the identity/identities of John Doe,
 6   which both failed to do. Twitter, Inc., refused to comply with Plaintiff's
 7   respectful request to disclose the corresponding identifying information of
 8   John Doe(s), such as the email address used to register for the Twitter
 9   account in question, namely that with the usemame @TiffanyDehen.
10   University of San Diego similarly refused to adhere to its contractual
11   obligations owed to Plaintiff, including, but not limited to, addressing the
12   aforementioned terroristic behavior for which Plaintiff alleges gave rise to
13   the behavior for which this cause of action arose.
14         Fifth, Plaintiff has measureable injury which she has sustained due to
15   the unlawful actions of John Doe, Twitter, Inc., and University of San Diego,
16   for which she deserves her day in Court.
17         Sixth, Plaintiff is within the statute of limitations for all causes of
18   action she alleges in her Second Amended Complaint, should this Court
19   grant her motion.
20   WHEREFORE Plaintiff respectfully moves the Court to accept her motion
21   and file her Second Amended Complaint, which is full in and of itself.
22   Dated: February 12, 2018
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28   MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFF'S MOTION TO FILE
     SECOND AMENDED COMPLAINT       No.: 17-cv-00198-LAB-WVG
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                                                Pro Se Plaintiff.
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28   MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFF'S MOTION TO FILE
     SECOND AMENDED COMPLAINT       No.: 17-cv-00198-LAB-WVG
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 7   Rule 5 .4( d).
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 9          Dated February 12, 2018.
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12                                                y L. Dehen
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28   MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFF'S MOTION TO FILE
     SECOND AMENDED COMPLAINT       No.: 17-cv-00198-LAB-WVG
